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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF INDIANA
                                     HAMMOND DIVISION

 MONSTER ENERGY COMPANY, a
 Delaware corporation,

                   Plaintiff,
                                                       Civil Case No. 2:21-cv-179-PPS-JPK
         v.

 R&R MEDICAL, LLC d/b/a BEAR
 KOMPLEX, an Indiana limited liability
 company,

                   Defendant.


 UNOPPOSED MOTION TO EXTEND FILING DEADLINES AND TO VACATE AND
       RESCHEDULE THE PRELIMINARY PRETRIAL CONFERENCE

        Defendant R&R Medical, LLC d/b/a Bear Komplex (“Defendant”), by counsel,

respectfully moves the Court for an order: (1) extending Defendant’s deadline to answer or

otherwise respond to Plaintiff’s Complaint; (2) extending the date by which the parties must file

a Proposed Discovery Plan; and (3) vacating and rescheduling the Rule 16 Preliminary Pretrial

Conference currently set for July 29, 2021. In support of this motion, Defendant states:

        1.        Defendant’s original deadline to answer the Complaint was June 21, 2021.

Defendant filed its Notice of Initial Extension of Time to Respond to Complaint (Dkt # 8), which

extended Defendant’s deadline to respond to the Complaint to July 19, 2021. That deadline has

not expired.

        2.        The current case schedule requires the parties to submit a Proposed Discovery

Plan by July 22, 2021 and to attend a Rule 16 Preliminary Pretrial Conference on July 29, 2021

at 9:15 A.M. (See Dkt. #11.) Those dates have not passed.



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        3.        The parties have been, and are still, conferring regarding voluntary resolution of

this matter and believe that a modification of the current schedule for this case will further the

parties’ efforts to settle the case.

        4.        To allow the parties time to continue their negotiations, Defendant respectfully

requests that the following deadlines be extended as set forth below:

                  a. Defendant’s deadline to respond to Plaintiff’s Complaint be extended to and

                      including August 16, 2021;

                  b. The deadline for the parties to file a Proposed Discovery Plan be extended to

                      and including September 16, 2021; and

                  c. The Rule 16 Preliminary Pretrial Conference be rescheduled to September 23,

                      2021, or any day thereafter on which the Court is available.

        5.        Counsel for Defendant has conferred with counsel for Plaintiff regarding the relief

requested herein, and Plaintiff agrees to the requested extensions and the proposed new deadlines

as set forth above.

        6.        This motion is made in good faith and not for any improper purpose.

        WHEREFORE, Defendant R&R Medical, LLC d/b/a Bear Komplex respectfully moves

the Court to extend the deadlines in this case as set forth above.

Date: July 15, 2021                             Respectfully submitted,

                                                /s/ Louis T. Perry
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